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1    MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
2
     Sacramento, CA 95814
3    (916) 201-4188
     Mike.Long.Law@msn.com
4
     Attorney for BRITTANY MAUNAKEA
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8
                             IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   THE UNITED STATES OF AMERICA,                ) No. 17-60 MCE
12
                     Plaintiff,                   )
                                                  ) STIPULATION AND
13          v.                                    ) ORDER EXONERATING Ms. MAUNAKEA’S
                                                  ) UNSECURED APPEARANCE BOND
14                                                )
15
     BRITTANY MAUNAKEA,                           )
                                                  )
16                   Defendant.                   ) Judge: Hon. Morrison C. England, Jr.
     ================================)
17

18          On August 10, 2018, defendant Brittany Maunakea was sentenced to a term in prison. She
19
     self-surrendered at a Bureau of Prisons facility on November 1, 2018.
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1    As she has self-surrendered to serve her sentence, the government, by and through AUSA Amy
2
     Hitchcock, and Defendant Brittany Maunakea, by and through her appointed CJA attorney Michael
3
     Long, hereby stipulate that Ms. Maunakea’s unsecured appearance bond (ECF document 14) should
4
     be exonerated.
5

6    Dated: November 2, 2018                              Respectfully submitted,

7                                                         /s/ Michael D. Long
                                                          MICHAEL D. LONG
8
                                                          Attorney for Brittany Maunakea
9

10   Dated: November 2, 2018                              McGREGOR SCOTT
                                                          United States Attorney
11

12
                                                          /s/ Amy Hitchcock
                                                          AMY HITCHCOCK
13                                                        Assistant U.S. Attorney
14

15
                                                  ORDER
16

17          Pursuant to the stipulation of the parties and good cause having been shown, the Court
18   orders that Ms. Maunakea’s unsecured appearance bond (ECF document 14) is hereby
19   exonerated.
20          IT IS SO ORDERED.
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     Dated: November 6, 2018
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